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Danny D. Ashwell, Jr
Patrick’: Fennell"
Attomeys & Counselors at Law $40:345-3527
366 Bl Avene SW, Roanoke, Virginia 24016. info@orandalllaw.com

June 25; 2013
LA nbulatory Surgery Center; LLC
Macon, G Georgie 31201

Re: . Inve: New England Compounding Pliarmacy, Inc., Products Lisbility Litigation
United States District Court, District of Massachusetts
Case'No.: 1:13-md-02419-FDS:

Dear Sir/Madam:

T have enclosed one copy of cach of the following documents in the-referenced tase:
1 Judge Saylor’s Order on Enforcementof Subpoenas; and

2.  — Judge Saylor’s Order Granting Plaiiitiffs: Leave to Serve Si
Protective Order’ Regarding Protection of Health Information.

ppoenas and Qualified

Please note that pursuant;to these orders, all sulpoenas:received by you in this litigation:
atid issued in the MDL are enforceable by the U.S. District Court in Boston, Massachusetts, and
that all objections 10 the subpoena tevently served on-you will be heard on ‘July 18, 2013 at the:
courtin, Boston starting at 2:00:p:m.

Thankyou, Please call me if you have any questions,

Ypslact’: (ill g””
~ Patrick To Fennell “~

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ties UNITED STATES DISTRICT COURT

~ FOR THE DISTRICT OF MASSACHUSETTS

IN RE: NEW ENGLAND COMPOUNDING | MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY | Master Dkt.: 1:13-md-02419-FDS
LITIGATION

THIS DOCUMENT RELATES TO:

All Actions

ORDER ON
1» CENTRAL ENFORCEMENT OF SUBPSENAS

WHEREAS the Plaintiffs’ Steering Committee has advised the Court that it intends to
issue subpoenas to:

e Pain clinics, hospitals, and other entities or individuals who purchased NECC’s methyl
prednisolone acetate, cardioplegic solution, or ophthalmic solution;

e Vendors and contractors who worked on or were responsible for the conditions of the
NECC facility;

e Vendors who conducted sterility or other testing of NECC’s products or equipment used
to make the products; and

¢ Suppliers who provided the raw materials used to create methyl prednisolone acetate,
cardioplegic solution, or ophthalmic solution.

WHEREAS the Court has the authority to enforce subpoenas issued out of the MDL;

WHEREAS the Court finds that central enforcement of these subpoenas will promote
efficiency and the interests of justice;

IT IS HEREBY ORDERED

1. This Court will centrally enforce subpoenas issued out of the MDL.

2. Any objections or motions to quash subpoenas issued out of the MDL shall be
filed directly into the MDL. Attorneys are permitted to make a limited appearance for the

purposes of contesting a subpoena without being deemed to otherwise consent to the jurisdiction

of this Court.
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3. Objections to subpoenas served before July 10, 2013 will be heard during the July

18, 2013 status conference.
SO ORDERED.
Dated this 21st day of _ June , 2013.

/s/ F. Dennis Saylor

F. Dennis Saylor, IV
United States District Judge
